                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

      Plaintiff,

      v.

MICHAEL LOCK,
JERHONDA MCCRAY,
CHIANTI CLAY,                                                  Case No. 07-Cr-204
KEVIN SLAMANN,
MONIQUE DUNLAP,
MARCUS LEONARD,
RUBEN FIELDS,
NICOLE BROWN,
LISA COLELLA
 formerly known as LISA GEIGER and
KRISTA JERAY,

      Defendants.


                   MAGISTRATE JUDGE'S RECOMMENDATION TO THE
                    HONORABLE J. P. STADTMUELLER AND ORDER


                                    NATURE OF CASE

      On August 1, 2007, a federal grand jury sitting in this district returned a 21-count

indictment against defendants Michael Lock, Jerhonda McCray, Chianti Clay, Kevin Slamann,

Monique Dunlap, Marcus Leonard, Ruben Fields, Nicole Brown, Lisa Colella formerly known

as Lisa Geiger and Krista Jeray. On December 5, 2007, a superseding 21-count indictment

was filed against the same defendants. All counts charge the defendants with devising and

participating in a scheme to defraud and to obtain money from lending institutions by means

of material false and fraudulent pretenses, representation and promises. Specifically, Counts

One through Eight, Counts Ten through Twelve and Counts Fourteen through Twenty charge



  Case 2:07-cr-00204-JPS       Filed 03/25/08   Page 1 of 14     Document 130
defendants with devising and participating in a scheme to defraud and obtain money by

transmitting wire communications in interstate commerce in violation of 18 U.S.C. §§ 1343 and

2. Counts Nine and Thirteen charge defendants with causing documents to be delivered by

commercial interstate carrier for the sale of property in violation of 18 U.S.C. §§ 1341 and 2.

Count Twenty-One charges the defendants with devising and participating in a scheme to

defraud a financial institution and obtain money by means of false and fraudulent pretenses

and representations in violation of 18 U.S.C. §§ 1344 and 2.

       Defendant Lock was charged in 20 counts, defendant McCray was charged in 10

counts, defendant Clay was charged in all counts, defendant Slamann was charged in seven

counts. Defendant Dunlap was charged in three counts, defendant Leonard was charged in

seven counts, defendant Fields was charged in four counts, defendant Brown was charged

in 13 counts. Defendants Jeray and Colella were each charged in one count.

       The defendants were arraigned and entered pleas of not guilty. Pursuant to the pretrial

scheduling order issued at that time, numerous motions were filed by the defendants.

Defendant Lock’s motions to suppress and for disclosure of Rule 404(b) evidence have

already been addressed. The motions of defendants McCray, Colella and Jeray to sever

defendants (Docket ## 73, 97 and 102) will be addressed in a separate decision, as will

defenant Slamann’s motion for relief from prejudicial joinder (Docket #90) and defendant

McCray’s motion to sever Count Twenty-One for misjoinder. (Docket #99). The government’s

motion for a hearing on multiple representation also will be addressed in a separate decision.

(Docket # 111). All other motions will be addressed herein.




                                             -2-


  Case 2:07-cr-00204-JPS       Filed 03/25/08      Page 2 of 14   Document 130
           DEFENDANTS SLAMANN'S AND JERAY’S MOTIONS TO DISMISS
                            (Docket #92 & #89)

       Defendant Slamann moves the court to dismiss all counts against him pursuant to Fed.

R. Crim. P. 12(b)(3)(A) and the Fifth, Sixth and Fourteenth Amendments to the United States

Constitution. (Docket #92). He asserts that the superseding indictment fails to allege that he

made a material false representation and fails to allege that he assisted any other defendant

in making a material, false representation. Therefore, he asserts that the motion to dismiss

should be granted. He cites no case law to support his position.

       Defendant Jeray moves to dismiss Count Thirteen which alleges mail fraud in violation

of 18 U.S.C. sec. 1341 and 2. (Docket #89). She asserts that Count Thirteen fails to allege

an essential element of the offense, namely that she knew or should have known about the

existence of any such scheme and artifice to defraud or that she was involved in, discussed

or was aware of any fraudulent scheme to defraud and obtain monies from any lending

institution by means of material, false or fraudulent representations. Defendant Jeray provides

no case law to support her contention.

       The motions of defendant Slamann and Jeray are, in essence, challenges to the

sufficiency of the indictment. An indictment must be a "plain, concise, and definite written

statement of the essential facts constituting the offense charged." Fed. R. Civ. P. 7(c). To be

sufficient, an indictment must: (1) state all of the elements of the offense charged; (2) be

sufficiently specific to inform the defendant of the charge; and (3) enable him to plead double

jeopardy in any future prosecution for the same offense. United States v. Sandoval, 347 F.3d

627, 633 (7th Cir. 2003); United States v. Glecier, 923 F.2d 496, 499 (7th Cir. 1991). An

indictment is generally sufficient when it sets forth the offense in the words of the statute itself,


                                                -3-


  Case 2:07-cr-00204-JPS         Filed 03/25/08       Page 3 of 14    Document 130
as long as those words expressly set forth all the elements necessary to constitute the offense

intended to be punished.     Hamling v. United States, 418 U.S. 87, 117-18 (1974); United

States v. Agostino, 132 F.3d 1183, 1189 (7th Cir. 1997).

       Although, as noted, an indictment that is in the words of the statute itself is generally

sufficient and preferred, the indictment need not track the exact language of the statute.

United States v. Weatherspoon, 581 F.2d 595, 600 (7th Cir. 1978). It must, however, allege

each element of the offense in a form which substantially states it. Id. In other words “while

an indictment must allege all of the elements necessary to prove a violation of the statute, ‘it

is not necessary to spell out each element, [so long as] each element [is] present in context.’"

United States v. Westmoreland, 240 F.3d 618, 633 (7th Cir. 2001) (quoting United States v.

Smith, 223 F.3d 554, 571 [7th Cir. 2000]).

       In United States v. Palumbo Bros., Inc., 145 F.3d 850, 860 (7th Cir. 1998), the court

explained that, in reviewing the sufficiency of an indictment “a court should consider each

‘challenged count as a whole and should refrain from reading it in a hypertechnical manner.’”

Id. (quoting United States v. McNeese, 901 F.2d 585, 602 [7th Cir. 1990]); see also, Sandoval,

347 F.3d at 633. “The indictment must be ‘read to include facts which are necessarily implied’

and ‘construed according to common sense.’” Palumbo Bros., 145 F.3d at 860 (quoting

United States v. Blinder, 10 F.3d 1468, 1471 [9th Cir. 1993]). The test for validity is not

whether the indictment could have been written in a more satisfactory manner, but whether

it conforms to minimal constitutional standards. United States v. Allender, 62 F.3d 909 (7th

Cir. 1995).

       In this case, defendant Jeray is charged in Count Thirteen with mail fraud in violation

of 18 U.S.C. § 1341 and defendant Slamann is charged with several counts of wire fraud in

                                             -4-


  Case 2:07-cr-00204-JPS        Filed 03/25/08     Page 4 of 14    Document 130
violation of 18 U.S.C. § 1343. Both 18 U.S.C. § 1341 and § 1343 share virtually identical

language, so they are of equal scope and should be construed with reference to one another.

See Carpenter v. United States, 484 U.S. 19, 25-28 (1987); Lombardo v. United States, 865

F.2d 155, 157 (7th Cir. 1989); United States v. Lemire, 720 F.2d 1327, 1334-35 (Fed. Cir.

1983); The essential elements of mail fraud under Section 1341 and wire fraud under Section

1343 are: (1) a scheme to defraud, and (2) use of the mails or interstate communications for

the purpose of executing or attempting to execute, the scheme to defraud. Schmuck v. United

States, 489 U.S. 705, 721 (1989) (mail fraud); United States v. Stout, 965 F.2d 340, 344 (7th

Cir. 1992) (mail fraud); Lombardo, 865 F.2d at 157 (wire fraud).

       Here, the defendants alleged scheme was to fraudulently obtain mortgage loans on

numerous properties in the Milwaukee area and to arrange to have the proceeds of the fraud

split, in varying proportions, among themselves. The defendants used a commercial interstate

carrier and wire carriers to facilitate the fraud. Clearly, transmittal of funds and documents

either by commercial interstate carrier or by wire was "incident to an essential part of the

scheme." See Schmuck, 489 U.S. at 712 (mailings from a merchant defrauded by defendant's

scheme to a company essential to process the transaction); Lombardo, 865 F.2d at 157 (wire

fraud scheme to sell specified property at a bargain price); United States v. Draiman, 784 F.2d

248, 253 (7th Cir. 1986) (mailings from the attorney for the insurance company to the company

and its accountant); United States v. Roylance, 690 F.2d 164, 167 (10th Cir. 1982) (out-of-

state investor mailings of checks to defendant for investment in defendant's fraudulent

scheme).

       Here, the indictment is sufficient to apprise the defendants of the essential elements

of the crimes charged against them and to allow them to plead double jeopardy in any future

                                             -5-


  Case 2:07-cr-00204-JPS       Filed 03/25/08      Page 5 of 14    Document 130
prosecution for the same offense. Therefore, this court will recommend that the motions of

defendants Slamann and Jeray to dismiss the indictment be denied.

          DEFENDANT SLAMANN'S MOTION FOR A BILL OF PARTICULARS
                              (Docket #91)

       Defendant Slamann moves the court for a bill of particulars pursuant to Fed. R. Crim.

P. 7(f) and the Fifth and Sixth Amendments. (Docket #91). Specifically, he seeks the names

of the “others” alleged to have participated in the scheme to defraud, the specific “material

false and fraudulent pretenses, representations and promises” that were made regarding

Counts Six, Seven and Sixteen through Twenty, the manner in which the fraud proceeds were

split and the identification of each settlement detail that was manipulated or concealed as

alleged in the superseding indictment. In addition, with respect to the forfeiture provision, he

seeks identification of the property that he allegedly has an interest in which the government

asserts is subject to forfeiture, the amount the government contends he received and the

amount the government is requesting he forfeit.

       The government objects to providing a bill of particulars, contending that the information

in the indictment together with the discovery materials provided is more than adequate to

inform defendant Slamann about the pending charges and to enable him to prepare for trial.

The government points out that it is following its open file policy and has provided or made

available for inspection extensive discovery materials, including investigative reports of witness

interviews, audio recordings, documents relating to properties that were the subject of the

fraud, tax and bank records, imaged computer files and other items recovered during the

execution of the various search warrants in this case. Further, the government asserts that




                                              -6-


  Case 2:07-cr-00204-JPS        Filed 03/25/08      Page 6 of 14    Document 130
defendant Slamann’s requests are merely an attempt to obtain detailed disclosure of the

evidence the government intends to produce at trial.

       Rule 7(f) of the Federal Rules of Criminal Procedure allows, in conjunction with the

issuance of an indictment, "for the filing of a bill of particulars–a more specific expression of

the activities defendant is accused of having engaged in which are illegal." United States v.

Canino, 949 F.2d 928, 949 (7th Cir. 1991). The trial court has discretion to grant or deny a

request for a bill of particulars and the trial court's decision denying a bill of particulars will not

be overturned without a showing of an abuse of discretion. United States v. Fassnacht, 332

F.3d 440, 446 (7th Cir. 2003); Canino, 949 F.2d at 949.

       The test for determining whether a bill of particulars should be granted is similar to the

test for determining the general sufficiency of the indictment, namely, “whether the indictment

sets forth the elements of the offense charged and sufficiently apprises the defendant of the

charges to enable him to prepare for trial.” Fassnacht, 332 F.3d at 447 (quoting United States

v. Kendall, 665 F.2d 126, 134 [7th Cir. 1981]); United States v. Richardson, 130 F.3d 765, 776

(7th Cir. 1997), vacated in part on other grounds, 526 U.S. 813 (1999); United States v.

McAnderson, 914 F.2d 934, 946 (7th Cir. 1990). “An indictment which includes each of the

elements of the offense charged, the time and place of the accused’s conduct which

constituted a violation, and a citation to the stature or statutes violated is sufficient to pass this

test.” Fassnacht, 332 F.3d at 446. Further, if the defendant could, from reading the indictment,

reasonably anticipate the evidence to be introduced at trial, the denial of the motion does not

prejudice the defendant. United States v. Andrus, 775 F.2d 825, 843 (7th Cir. 1985).

       “[A] defendant has no right to discover, through a bill of particulars, the evidentiary

details of the government’s case.” United States. v. Brock, 863 F.Supp. 851, 867 (E.D. Wis.

                                                 -7-


  Case 2:07-cr-00204-JPS          Filed 03/25/08       Page 7 of 14     Document 130
1994) (citing United States v. Glecier, 923 F.2d 496, 501-02 [7th Cir. 1991]). A defendant is

entitled to know the offense with which he is charged, but he is not entitled to know the details

of how it will be proved. Fassnacht, 332 F.3d at 446 (quoting United States v. Kendall, 665

F.2d 126, 135 [7th Cir. 1981]); see also, Richardson, 130 F. 3d at 776. Nor is a bill of

particulars intended to compel the government to make a detailed disclosure of its evidence

or to reveal the theory of its case. Glecier, 923 F.2d at 502; United States v. Johnson, 504

F.2d 622, 628 (7th Cir. 1974) (“It is well settled that a bill of particulars cannot be used to

obtain a list of the government’s witnesses, or evidentiary detail.”).

       “Once the elements of the crime have been specified, an indictment need only provide

enough factual information to enable the defendants to identify the conduct on which the

government intends to base its case.” Fassnacht, 332 F.3d at 446. Indeed, a bill of particulars

is not required when a defendant can obtain the information necessary for his or her defense

through “some other satisfactory form.” Id. at 447 n.2 (quoting Canino, 949 F.2d at 949).

       Here, the 29-page superseding indictment provides detailed information about the

nature and scope of the fraud scheme. It sets forth the elements of the charged offenses, the

approximate date and time of the alleged illegal conduct and the statutes violated. With

respect to the “others” alleged to have participated in the conspiracy, the government states

that, to the extent that the identities of these persons are known, the names can be found in

the discovery materials provided to the defendants. Defendant Slamann’s request to have the

government enumerate which representations it considers “material” is merely an attempt to

require the government to disclose in detail the evidence it intends to offer in its case and to

reveal its theory of the case. Such information is not subject to disclosure in a bill of

particulars. Fassnacht, 332 F.3d at 446; Glecier, 923 F.2d at 501-02.

                                              -8-


  Case 2:07-cr-00204-JPS        Filed 03/25/08      Page 8 of 14   Document 130
       With respect to the forfeiture allegations in the indictment, Fed. R. Crim. P. 7(c)(2)

requires the government to provide notice that the defendant has an interest in property that

is subject to forfeiture. The government is not required to list all forfeitable interests in the

indictment provided that the indictment provides notice to the defendant that the government

will seek to forfeit property acquired in violation of the statute. See United States v. DeFries,

129 F.3d 1293, 1315 (D.C. Cir. 1997). The superseding indictment provides the defendant

with the requisite notice. Moreover, the government is following its "open file" discovery policy

in this case and, as the government points out, the defendants have received relevant and

discoverable information contained in the government’s file. Thus, any even arguable need

for a bill of particulars is obviated where, as in the instant case, discovery has been provided.

Fassnacht, 332 F.3d at 447, n.2; Canino, 949 F.2d at 949 (“The ‘open file’ policy is an

‘adequate satisfactory form’ of information retrieval making the bill of particulars

unnecessary.”).

       The indictment in this case adequately apprises defendant Slamann of the nature of

the charges against him to enable him to prepare a defense and to enable him to plead double

jeopardy if a subsequent prosecution for the same offense is brought. The information sought

by defendant Slamann goes beyond the bounds of information obtainable in a bill of

particulars. Moreover, the government has provided the defendant with extensive pretrial

discovery in its possession further obviating the need for a bill of particulars. See Fassnacht,

332 F.3d at 447; Canino, 949 F.2d at 949. Accordingly, defendant Slamann’s motion for a bill

of particulars will be denied.




                                              -9-


  Case 2:07-cr-00204-JPS         Filed 03/25/08     Page 9 of 14   Document 130
                  DEFENDANT MCCRAY’S MOTION FOR ORDER FOR
                         NOTICE OF CERTAIN EVIDENCE
                                 (Docket #101)

       DEFENDANTS SLAMANN’S AND JERAY’S MOTIONS FOR DISCLOSURE
               OF OTHER ACTS EVIDENCE AND WITNESS LIST
                           (Docket #94 & #87)

       Defendant McCray has moved for a written summary of the nature of any expert

witness opinion as required by Fed. R. Crim. P. 16(a)(1)(G), any uncharged misconduct

evidence under Fed. R. Evid. 404(b),and any handwritten documents which the government

intends to offer under Fed. R. Evid. 803(6) or 801(d)(2)(E). (Docket #101).         In addition,

defendant McCray seeks disclosure of the nature of any hearsay evidence the government

intends to offer under Fed. R. Evid. 807. Defendants Slamann and Jeray seek an order

compelling the government to disclose any evidence it will offer at trial pursuant to Fed. R.

Evid. 404(b). (Docket ##94, 87). Defendant Slaman also requests an order requiring the

government to provide him with a list of witnesses to be called to testify at trial. In response,

the government states that it is aware of its obligations under Rule 16 of the Fed. R. Crim. P.

404(b) and Fed. R. Evid. 807 and will comply with those obligations.

       Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure requires disclosure of

expert witness testimony upon a defendant’s request. Thus, defendant McCray need not file

a motion to obtain such information. Furthermore, the motions of defendant McCray and

Slamann seek particular discovery materials. However, any such motions for discovery must

be accompanied by a statement mandated by Criminal Local Rule 16.1(a) (E.D. Wis.). The

court’s local rule, which is referenced in the Pretrial Order issued to the parties at the

arraignment, requires that all discovery motions be accompanied by a statement of counsel



                                             - 10 -


  Case 2:07-cr-00204-JPS       Filed 03/25/08     Page 10 of 14     Document 130
that the parties have met and conferred and that they are unable to resolve their discovery

disputes. No such statement was provided with defendants Slamann and Jeray’s motions.

Therefore, the portion of defendant McCray’s motion seeking disclosure of evidence under

Rule 16 will be denied as moot. The other discovery requests in the motions of defendants

Slamann and Jeray will be denied for failure to comply with the court’s local rule.

       With respect to the Rule 404(b) evidence sought by these defendants, the rule requires

the government to give notice of its intention to use other crimes, wrongs, or acts evidence.

"Other acts" evidence is admissible if: "1) the evidence is directed toward establishing a

matter in issue other than the defendant's propensity to commit the crime charged; 2) the

evidence shows that the other act is similar enough and close enough in time to be relevant

to the matter in issue; 3) the evidence is sufficient to support a jury finding that the defendant

committed the similar act; and 4) the probative value of the evidence is not substantially

outweighed by the danger of unfair prejudice." United States v. O'Brien, 119 F.3d 523, 529

(7th Cir. 1997); United States v. Yusufu, 63 F.3d 505, 511 (7th Cir. 1995); see also, United

States v. Smith, 103 F.3d 600, 603 (7th Cir. 1996).

       Notice of the government’s intention to use such evidence must be provided regardless

of whether the government intends to use the evidence during its case-in-chief at trial, for

impeachment or for possible rebuttal. See Advisory Committee Notes, 1991 Amendments to

Rule 404(b). The rule makes no provision for the timing of the notice. Rather, the rule

provides that the government “shall provide reasonable notice in advance of trial.” Fed. R.

Evid. 404(b). What constitutes reasonable notice will depend largely on the circumstances of

each case. See Advisory Committee Notes, 1991 Amendments to Rule 404(b).



                                              - 11 -


  Case 2:07-cr-00204-JPS        Filed 03/25/08    Page 11 of 14      Document 130
         In light of the foregoing, the motions of defendants McCray and Slamann seeking

disclosure of Rule 404(b) and other discovery will be granted in part and denied in part as

stated herein. Defendant Jeray’s motion for an order for notice of certain evidence pursuant

to Rule 404(b) will be granted. The government will be required to provide notice of the

general nature of any other crimes evidence it intends to introduce at trial two weeks prior to

trial.

                          DEFENDANT JERAY'S MOTION FOR
                   A SANTIAGO HEARING AND FOR PRETRIAL RULING
                      REGARDING ADMISSIBILITY OF STATEMENTS
                                   (Docket #88)

         Defendant Krista Jeray moves the court for entry of an order excluding co-conspirator

statements under United States v. Santiago, 582 F.2d 1128 (7th Cir. 1978) and Fed. R. Evid.

104. (Docket #88). She also requests a pretrial hearing on the existence of a conspiratorial

agreement and the admissibility of co-conspirators’ statements. The government opposes

the motion.

         The motion addresses the basic issue – the admissibility of co-conspirators' statements

pursuant to Fed. R. Evid. 801(d)(2)(E). In Santiago, the Court of Appeals for the Seventh

Circuit held that the issue of the admissibility of co-conspirator statements may be resolved

at trial. Subsequent cases have continued to approve of this practice. United States v.

Haynie, 179 F.3d 1048, 1050 (7th Cir. 1999); United States v. McClellan, 165 F. 3d 535, 553

(7th Cir. 1999); United States v. Rodriguez, 975 F.2d 404, 409-10 (7th Cir. 1992). This

practice has been uniformly adopted in this district. See, e.g., United States v. Morken, No.

95-Cr-178, slip op. at 36-37 (E.D. Wis. April 20, 1996); United States v. Nevarez-Diaz, No.




                                              - 12 -


  Case 2:07-cr-00204-JPS        Filed 03/25/08    Page 12 of 14     Document 130
97-Cr-211, slip op. at 14-15 (E.D. Wis. Dec. 20, 1997). As such, the defendant’s motion will

be denied as untimely.

                                        CONCLUSION

       NOW, THEREFORE, IT IS HEREBY RECOMMENDED that the United States district

judge enter an order denying defendant Kevin Slamann's motion to dismiss all counts against

him. (Docket #92).

       IT IS FURTHER RECOMMENDED that the United States district judge enter an order

denying defendant Krista Jeray’s motion to dismiss the charge of mail fraud (Count Thirteen)

of the superseding indictment. (Docket #89).

       IT IS ORDERED that defendant Jerhonda McCray’s motion for an order for notice of

certain evidence be and hereby is granted in part and denied in part. (Docket #101).

       IT IS ORDERED that defendant Kevin Slamann’s motion for a bill of particulars be and

hereby is denied. (Docket #91).

       IT IS ORDERED that defendant Kevin Slamann’s motion for disclosure of other acts,

evidence and witness list be and hereby is granted in part and denied in part. (Docket #94).

       IT IS ORDERED that defendant Krista Jeray’s motion for disclosure of intention to use

evidence of other crimes be and hereby is granted. (Docket #87).

       IT IS ORDERED that defendant Krista Jeray’s motion for a Santiago hearing and

pretrial ruling regarding admissibility of statements be and hereby is denied. (Docket #88).

       Your attention is directed to 28 U.S.C. § 636(b)(1)(A) and General Local Rule 72.3 (E.D.

Wis.), whereby written objections to any order or recommendation herein or part thereof may

be filed within ten days of service of this order. Objections are to be filed in accordance with


                                             - 13 -


  Case 2:07-cr-00204-JPS       Filed 03/25/08    Page 13 of 14     Document 130
the Eastern District of Wisconsin's electronic case filing procedures. Courtesy paper copies

of any objections shall be sent directly to the chambers of the district judge assigned to the

case. Failure to file a timely objection with the district court shall result in a waiver of your right

to appeal.

         Dated at Milwaukee, Wisconsin this 25th day of March, 2008.

                                                          BY THE COURT:

                                                              s/ Patricia J. Gorence
                                                          PATRICIA J. GORENCE
                                                          United States Magistrate Judge




O:\CRIM\Lock other defts rec & ord.wpd               - 14 -                                 March 25, 2008




  Case 2:07-cr-00204-JPS                 Filed 03/25/08   Page 14 of 14   Document 130
